10 U.S. 52
    6 Cranch 52
    3 L.Ed. 149
    WILSON, EX PARTE.
    February Term, 1810
    
      1
      WILSON petitioned the court for a writ of habeas corpus, and a certiorari to bring up the record of a civil cause in which judgment had been rendered against him, upon which a ca. sa. had issued, by which he was taken and was now in confinement within the prisons bounds upon a prison-bounds bond. His petition stated that the marshal had demanded of the creditor the daily allowance for the prisoner agreeably to the act of congress, concerning insolvent debtors within the district of Columbia, (Laws U. S. vol. 6 p. 301. § 15.) which the creditor had refused to pay, in consequence of which the marshal had no longer any authority to detain him.
    
    
      2
      The act of congress provides that the circuit court of the district of Columbia shall, by a general order, fix the daily allowance for the support of prisoners in execution for debt in civil suits, and that 'no person, taken in execution for debt or damages in a civil suit, shall be detained in prison therefor unless the creditor, his agent or attorney, shall, after demand thereof by the marshal, pay, or give such security as he may require, to pay, such daily allowance, and the prison fees.
    
    
      3
      The marshal refused to discharge the petitioner; and his counsel, E. J. Lee, now moved for a habeas corpus.
    
    
      4
      MARSHALL, Ch. J. after consultation with the other judges, stated that the court was not satisfied that a habeas corpus is the proper remedy, in a case of arrest under a civil process.
    
    
      5
      Habeas corpus refused.
    
    